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                       IN THE UNITED STATES DISTRICT COURT

                                 DISTRICT OF COLORADO

  JAY CONNOR, individually and on                   Case No. 1:24-cv-02286
  behalf of all others similarly situated,


                        Plaintiff,                  JURY TRIAL DEMANDED
         v.                                         CLASS ACTION

  SERVICEQUIK INC. d/b/a
  ZING BUSINESS MANAGEMENT
  SOFTWARE


                        Defendant.

         UPDATE/SUPPLEMENT TO MOTION FOR ANTI-SUIT INJUNCTION

       Pursuant to guidance from Magistrate Judge Neureiter at the parties’ November

15 Rule 16 Conference, Plaintiff Jay Connor, by and through the undersigned counsel,

submits this brief supplement to inform the Court of a material development pertaining

to Plaintiff’s Motion for Anti-Suit Injunction. Plaintiff wishes to inform the Court that the

State Court in South Carolina has set a hearing on the Defendant’s Motion for Summary

Judgment and on the Motion to Vacate the Voluntary Dismissal on December 10, 2024.

This imminent hearing threatens to have the South Carolina State Court interfere with

this Court’s adjudication of this case pending before it, rendering time of the essence in

ruling on the instant Motion for Anti-Suit Injunction before this Court.


       RESPECTFULLY SUBMITTED AND DATED this November 17, 2024.

                                              /s/ Andrew Roman Perrong
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                                  Attorneys for Plaintiff and the Proposed Class




                             CERTIFICATE OF SERVICE

      We certify that we filed the foregoing via ECF on the below date, which will

automatically send a copy to all attorneys of record on the case.


Dated: November 17, 2024

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